                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

JENNIFER HARRIS,                §
                                §
    Plaintiffs,                 §
                                §
vs.                             §                    Civil Action 4:21-cv-1651
                                §
FEDEX CORPORATE SERVICES, INC., §
                                §
    Defendants.                 §

           PLAINTIFF’S MOTION FOR ENTRY OF JUDGMENT

TO THE HONORABLE KENNETH M. HOYT:

      Plaintiff Jennifer Harris moves the Court for entry of judgment on the verdict

returned by the jury in this matter on October 25, 2022. Pursuant to the Federal

Rules of Civil Procedure 54, 57, and 58, Plaintiff requests that a judgment be entered

on the verdict, including interest and costs of court.

   1. Judgment On Verdict Answers to Written Questions

      A judgment may be demanded granting the relief to which each party is

entitled. FED. R. CIV. P. 54(c). A court must promptly approve the form of a

judgment when the jury returns a special verdict or a general verdict with answers to

written questions. FED. R. CIV. P. 58(b). A jury in this case returned a special or

general verdict with answers to written questions. (Dkt. #99). The jury awarded


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$366,060,000 to Plaintiff, of which $120,000 was awarded as past compensatory

damages, $1,040,000, was awarded as future compensatory damages, and

$365,000,000 was awarded as punitive damages. Plaintiff requests a judgment in that

amount together with interest, equitable relief, and costs of court.

   2. Prejudgment Interest

          a. State Law Is Applicable

      Where an action arises under federal law, “it is within the discretion of the

district court to set an equitable rate of prejudgment interest.” Hansen v. Continental

Ins. Co., 940 F.2d 971, 984 (5th Cir.1991) abrogated on other grounds by CIGNA Corp.

v. Amara, 563 U.S. 421 (2011). See also Kostic v. Tex. A & M Univ. at Commerce, No.

3:10-CV-2265-M, 2015 WL 4775398, at *2 (N.D. Tex. Aug. 13, 2015). See also Perez

v. Bruister, 823 F.3d 250, 274 (5th Cir. 2016).

      Where a claim is governed by a federal statute, and the statute is silent on the

issue of prejudgment interest, “state law is an appropriate source of

guidance.” Hansen, 940 F.2d 984. See also Wesley v. Yellow Transp., Inc., No. 3:05–

CV–2266D, 2010 WL 3606095, at *2 (N.D. Tex. Sept.16, 2010) (“In the absence of

a federal statute that establishes the rate of prejudgment interest, state law guides

the court’s discretion in determining the interest rate.”). Title VII and Section 1981




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are analyzed similarly. See Jones v. Robinson Prop. Group, L.P., 427 F.3d 987, 992 (5th

Cir. 2005). The prejudgment interest rate in Texas is applicable to this case.

                b. The Texas Rate

           The Texas Finance Code Sections 304.003(a) and (c) provide that

prejudgment interest shall accrue at the rate of five percent per year when the prime

rate as published by the Board of Governors of the Federal Reserve System is less

than five percent. The prime interest rate for the week of October 31, 2022, is less

than five percent. 1 Simple interest on the past intangible damages for each plaintiff

is $16.43 per day ($120,000 x 0.05 / 365).

                c. From Date Suit Is Filed

           Under Title VII, courts generally should calculate interest on past damages

based on the date of the adverse employment action. Thomas v. Tex. Dep’t of Criminal

Justice, 297 F. 3d 361, 372 (5th Cir. 2002). The Texas Finance Code also provides

that prejudgment interest may start from the date the lawsuit was filed. See TEX. FIN.

CODE § 304.104. Although Plaintiff suffered intangible damages before the lawsuit

was filed, Plaintiff requests prejudgment interest only from the date the lawsuit was

initially filed, May 20, 2021. The total amount of prejudgment interest for the

Plaintiff is calculated by multiplying $16.43 per day with the number of days from


1
    https://www.federalreserve.gov/releases/h15/ (last visited October 31, 2022).

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May 20, 2021, to the day before the judgment is rendered. See TEX. FIN. CODE §

304.104.

          3. Postjudgment Interest

             Postjudgment interest is calculated using the weekly average 1-year constant

maturity (nominal) Treasury yield, as published by the Federal Reserve System for

the calendar week preceding. 28 U.S.C. § 1961. 2 Plaintiff requests the rate for the

week the judgment is entered.

          4. Injunctive Relief

             An individual who brings a Title VII suit “takes on the mantel of the

sovereign,” Jenkins v. United Gas Corp., 400 F.2d 28, 32 (5th Cir. 1968). The Civil

Rights Act of 1866 and Title VII’s purposes are to eliminate discrimination and

recompense those who have suffered from it. Id. The Fifth Circuit has said:

             When, as frequently is the case, the alleged discrimination has been
             practiced upon the plaintiff because he is a member of a class that is
             allegedly discriminated against, the court trying a Title VII suit bears a
             special responsibility in the public interest to resolve the employment
             dispute by determining the facts regardless of the individual plaintiff's
             position, Bowe v. Colgate-Palmolive Company, 7 Cir., 1969, 416 F.2d 711,
             715, for “[w]hether in name or not, the suit is perforce a sort of class
             action for fellow employees similarly situated.” Jenkins at 33.

Hutchings v. United States Industries, Inc., 428 F.2d 303, 310 (5th Cir. 1970).




2
    Id.

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      Injunctive relief in single plaintiff cases may sometimes be proper. See Meyer

v. Brown & Root Const., 661 F.2d 369, 374 (5th Cir. 1981). (“lnjunctive relief which

benefits non-parties may sometimes be proper even where the suit is not brought as

a Rule 23 class action. The Ninth Circuit recognized this fact in Gregory v. Litton

Systems, Inc., 472 F.2d 631 (9th Cir.1972), and we approve it here.”). An individual

who brings a Title VII suit “takes on the mantel of the sovereign.” Jenkins v. United

Gas Corp., 400 F.2d 28, 32 (5th Cir. 1968). In Title VII cases, “once the judicial

machinery has been set in train, the proceeding takes on a public character in which

remedies are devised to vindicate the policies of the Act, not merely to afford private

relief to the employee.” Gordon v. JKP Enterprises Inc., 2002 WL 753496, at *7

(C.A.5 2002) (quoting Hutchings v. U.S. Indus., Inc., 428 F.2d 303, 311 (5th

Cir.1970).)

      The Fifth Circuit has held that absent clear and convincing proof of no

reasonable probability of further noncompliance with the law a grant of injunctive

relief is mandatory. Equal Employment Opportunity Commission v. Rogers Bros., 5 Cir.

1972, 470 F.2d 965. In Cypress v. Newport News General & Nonsectarian Hospital

Ass’n, 4 Cir. 1967, 375 F.2d 648, 658, the Fourth Circuit makes a relevant

observation: “‘[P]rotestations or repentance and reform timed to anticipate or blunt

the force of a lawsuit offer insufficient assurance’ that the practice sought to be


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enjoined will not be repeated.” See Rowe v. General Motors Corp., 457 F.2d at

359; Gamble v. Birmingham Southern R. R. Co., 514 F.2d at 683. However, where a

plaintiff is no longer employed and not seeking reinstatement, injunctive relief is

usually unnecessary, unless a plaintiff can show other ways in which she would

benefit from the injunction. See Gordon, at *7. Ms. Harris can show other ways in

which she, and others, would benefit from the injunction. Ms. Harris would benefit

from prohibiting further retaliation by FedEx’s communications within and outside

FedEx concerning Ms. Harris’s performance. Communications about Ms. Harris’s

performance by FedEx could continue to harm Ms. Harris and her career. Others

would benefit from detailed steps followed for investigations of discrimination

complaints and training for managers on recognizing signs of discrimination and

retaliation. Requiring the detailed investigation steps and training for managers on

recognizing signs of discrimination and retaliation would help prevent unlawful

retaliation in the future not only against Ms. Harris, it would also benefit others at

FedEx.

      The following injunctive relief requested in this case is tailored to the

pleadings and evidence:

      1. refrain from stating that Ms. Harris was terminated for poor

          performance;


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      2. place a copy of the judgment in Ms. Harris’s personnel file;

      3. designate Ms. Harris as eligible for rehire;

      4. revise FedEx’s employment policy to include detailed steps for an

          investigation of a complaint; and

      5. provide training for every manager on recognizing signs of unlawful

          retaliation, by a licensed attorney not an employee of FedEx or who

          has previously provided services to FedEx and keep a record of each

          person and the date of attendance, with the training to be completed

          within three years of the date of judgment.

      WHEREFORE, Plaintiff respectfully requests that the Court grant this

motion and enter an order finding that the Plaintiff is entitled to the full verdict with

interest and costs of court.

                                               Respectfully submitted,



                                                /s/ Brian Sanford
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                                            ATTORNEYS FOR PLAINTIFFS
                                            JENNIFER HARRIS


                          CERTIFICATE OF SERVICE

       I hereby certify that November 21, 2022, I served the foregoing document on
all counsel of record via the electronic filing system of the Court.

                                                /s/ Elizabeth “BB” Sanford




                      CERTIFICATE OF CONFERENCE

     I hereby certify that I conferred with counsel for Defendant regarding this
motion and Defendant opposes this motion.

                                                /s/ Elizabeth “BB” Sanford




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